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                EXHIBIT B
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           IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION



                                    ★
EUNICE LAMBERT, on behalf of
                                    ■*r
decedent FELICIA LAMBERT,

                                    *
     Plaintiff,
                                    *



           V.                       *             CV    121-111
                                    *


                                    *
KENDALL PATIENT RECOVERY U.S.,
                                    ★
LLC, a Delaware limited
liability corporation.
                                    *


                                    *
     Defendant.




                               ORDER




     Plaintiff Eunice Lambert, as Administratix of the Estate of

her daughter. Decedent Felicia Lambert {^^Decedent"), brings claims

against Defendant Kendall Patient Recovery, U.S., LLC C'KPR") for

negligence, willful and wanton misconduct, private nuisance, and
ultrahazardous activity/strict liability.          (Am. Compl., Doc. 27,

at 17-23.)      Defendant filed a motion to dismiss in lieu of

answering Plaintiff's Amended Complaint.               (Doc. 30.)   For the

following reasons. Defendant's motion is GRANTED.



                             I. BACKGROUND


     Plaintiff originally filed suit against Defendant on July 19,

2021 (Doc. 1) and Defendant moved to dismiss the original Complaint

on September 7, 2021 (Doc. 10).           Then in October 2021, Plaintiff
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filed a motion for leave to file an amended complaint (Doc. 23)

which the Court granted on October 15, 2021 (Doc. 25) and in turn

denied as moot      Defendant's first motion to dismiss (Id.).            On

October 22, 2021, Plaintiff filed             her Amended Complaint (Am.

Compl.) and Defendant moved to dismiss it on November 26, 2021

(Doc. 30).    Plaintiff filed a response in opposition (Doc. 31) and

Defendant replied in support (Doc. 33). Therefore, the motion has

been fully briefed and is ready for the Court's review.

     The Amended Complaint brings four claims against Defendant

for the harm it caused Decedent from emissions of toxic ethylene

oxide    ("EtO").    (Am.    Compl.,   at 1.)      Defendant   operates   an

industrial medical sterilization plant in Augusta, Georgia that

uses and emits EtO as part of its sterilization process.                (Id.)

Plaintiff states, without citation, that EtO ''is an odorless,

colorless     gas   that    is   dangerous,    toxic,   carcinogenic,     and
mutagenic." (Id. at 5.) Further, it "is highly reactive, readily
taken up by the lungs, efficiently absorbed into the blood stream,

and easily distributed throughout the human body." (Id.)
        Plaintiff's claims are brought pursuant to 28 U.S.C. § 1332(a)

because the Parties are citizens of different states and the amount

in controversy exceeds $75,000.           (Id. at 3.)      Decedent lived
approximately 5-6 miles from Defendant's facility from 1981—1982
and between 1986-2015.       (Id. at 16.)      From 2003 to 2008, she also

attended school about 5 miles from the facility.           (Id.)   Decedent
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was diagnosed with acute myelogenous leukemia in 2014 and passed

away in 2015.          (Id.)     She experienced pain and suffering before

she passed.        (Id.)        Decedent "consistently inhaled air in and

around her home, school, and in the Augusta area" which Plaintiff

alleges contained EtO from Defendant.               (Id.)       Neither Plaintiff

nor Decedent noticed Decedent's medical condition was wrongfully

caused or that it was caused by Defendant's EtO emissions until

December       2019.     (Id.)       Plaintiff    does    not   allege    how    such

connection was discovered.


     Plaintiff         brings    a   negligence   claim,     alleging     Defendant

breached its duty in "one or more" ways.                 (Id. at 17.)     Plaintiff

then alleges six acts that could be how Defendant breached its

duty:

        a. Emitting dangerous volumes of EtO into the air from
        its facility;
        b. Disregarding safe methods to adequately control EtO
        emissions from its facility;
        c. Failing to control and report fugitive emissions of
        EtO;
        d.   Failing    to     comply   with   Georgia's    limits   on    EtO
        concentrations;
        e. Failing to warn or advise those who live or work in
        the community that they were being exposed to EtO; and
        f. Subjecting those who live and work nearby its facility
        to an elevated cancer risk.


(Id. at 17-18.)         She states that "[a]s a proximate result of one

of the aforesaid negligent acts or omissions. Decedent suffered

injuries of a personal and pecuniary nature." (Id. at 18.)                       Next,

Plaintiff alleges willful and wanton misconduct because "Defendant
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owed a duty to refrain from willful and wanton misconduct and/or

conduct which exhibited an indifference and/or conscious disregard

to the health, safety, and well-being of Decedent."                  (Id.)     She

again lists the six ^^possible" actions outlined above and asserts

Defendant acted with '"a conscious disregard for the known dangers

its EtO posed to its neighbors."            (Id. at 19.)        Third, Plaintiff

alleges a private nuisance claim, arguing ^^Defendant's emissions

of   carcinogenic      EtO   interfered     with    Decedent's     enjoyment    of

property and caused hurt, inconvenience, or damage to Decedent,

including her ability to breathe air on her property free of a

carcinogenic toxin."          (Id. at 20-21.)        And finally. Plaintiff

brings    a    claim   of    ultrahazardous     activity/strict       liability,

arguing    Defendant's       use   and   emission    of   EtO    constitutes    an

ultrahazardous activity and created a high degree of risk to those

who live and work in the surrounding area.                (Id. at 21-22.)      She

argues that because the actions are ultrahazardous. Defendant "'is

strictly liable for any injuries proximately resulting therefrom."

(Id. at 22.)

      Defendant moves to dismiss Plaintiff s Amended Complaint for

a variety of reasons. (Doc. 30.)           First, it argues the Court lacks

subject       matter   jurisdiction      over   Plaintiff's      claims   because

Decedent's injuries are not traceable to its conduct.                 (Id. at 4-

8.) Alternatively, Defendant moves to dismiss for failure to state

a claim.       (Id. at 8.)    Defendant argues it did not exist and did
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not operate the relevant facility until 2017.                 (Id. at 8-9.)

Further, there is a two-year statute of limitations for personal

injury actions Plaintiff is attempting to negate; however, the

discovery rule does not apply here because it is a claim by

Decedent's    estate.     (Id.    at   9-10.)     Additionally,      it   argues

Plaintiff fails to state a claim for any of the four alleged

counts, and Defendant is not liable under a theory of strict

liability     because   Georgia    does     not   classify   these    acts    as

inherently dangerous.         (Id.     at   10-24.)   The    Court addresses

Defendant's arguments below.




                            II. LEGAL STANDARD


       In considering a motion to dismiss under Rule 12(b)(6), the

Court tests the legal sufficiency of the complaint.               Scheuer v.

Rhodes, 416 U.S. 232, 236 (1974), overruled on other grounds by

Davis V. Scherer, 468 U.S. 183 (1984).            Pursuant to Federal Rule

of Civil Procedure 8(a)(2), a complaint must contain ''a short and

plain statement of the claim showing that the pleader is entitled

to relief" to give the defendant fair notice of both the claim and

the supporting grounds.       Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555   (2007).     Although 'Metalled        factual allegations" are         not

required. Rule 8 "demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation."             Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Twombly, 550 U.S. at 555).
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     A plaintiff's pleading obligation ''requires more than labels

and conclusions, and a formulaic recitation of the elements of a

cause of action will not do."          Twombly, 550 U.S. at 555.      "Nor

does a complaint suffice if it tenders 'naked assertions' devoid

of 'further factual enhancement.'" Iqbal, 556 U.S. at 678 (quoting

Twombly, 550 U.S. at 557).             The Court need not accept the

pleading's legal conclusions as true, only its well-pleaded facts.

Id. at 677-79.    Furthermore, "the court may dismiss a complaint

pursuant to [Rule 12(b)(6)] when, on the basis of a dispositive
issue of law, no construction of the factual allegations will

support the cause of action."          Marshall Cnty. Bd. of Educ. v.

Marshall Cnty. Gas Dist., 992 F.2d 1171, 1174 (11th Cir. 1993)

(citing Exec. 100, Inc. v. Martin Cnty., 922 F.2d 1536, 1539 (11th
Cir. 1991)).




                            III. DISCUSSION


     The   Court first     addresses    Defendant's   argument regarding

subject matter jurisdiction and then addresses Defendant's statute

of limitations argument.

A. Subject Matter Jurisdiction

     First,    Defendant   argues   the    Court   lacks   subject   matter

jurisdiction over Plaintiff's claims because the Amended Complaint

"does not plausibly show that the [D]ecedent's alleged injuries

are attributable to EtO emissions at all, much less [Defendant's]
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conduct,"    and     speculation    does    not    satisfy   the   traceability

requirements for standing.          (Doc. 30, at 4, 7.)       Defendant argues

''Plaintiff relies on a speculative chain of possibilities to reach

the unsupported conclusion that the [D]ecedent's alleged injuries

are actually traceable to [Defendant's] conduct, rather than

something else." (Id. at 4.) Overall, Defendant asserts Plaintiff

lacks standing because she "offers only speculation that (1) the

[DJecedent's injuries were caused by EtO and (2) any EtO that may

have caused the [Djecedent's injuries was emitted by [Defendant]."

(Id. at 7.)          Defendant argues Plaintiff's referenced studies

contradict    her     conclusory     allegations     and     instead     show   the

^^all0g0d injuries not only could have been, but were statistically
much more likely to have been, caused by an independent source or

a third party."       (Id.)

       In response. Plaintiff argues that "to establish Article III
standing at the pleading stage" in harmful emission cases, she
"need only allege that Defendant discharges a pollutant into the
community that causes or contributes to the kinds of injuries she
suffered."    (Doc. 31, at 1.)       She relies on various cases to argue

Article III traceability is a "low bar" in these types of cases.

(Id.    at   4-5.)      Defendant     rebuts      these    assertions,     arguing
Plaintiff s        standard   "is     not    the     standard      for    pleading

traceability in the context of harmful emissions.                    This is the
standard for pleading traceability in the context of citizen suits
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under the Clean Water Act C'CWA")        (Doc. 33, at 3-4 (emphasis in

original)).   Defendant argues all the cases Plaintiff cites for

the "low-bar" traceability standard involve the CWA or Clean Air

Act ("CAA"), not personal injury claims, and           those cases are

materially distinct from the case at hand - one in which courts

require a higher showing of traceability.        (Id. at 4-5.)

     1. Analysis

     Standing is an essential, limiting aspect on the power of the

federal courts.    Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016).

Only plaintiffs who "have (1) suffered an injury in fact, (2) that

is fairly traceable to the challenged conduct of the defendant,

and (3) that is likely to be redressed by a favorable judicial

decision" have standing to sue.      Id. at 338 (citing Lujan v. Defs.

of Wildlife, 504 U.S. 555, 560-61 (1992)).             Here, the second

element, traceability, is contested.

     "The traceability prong means it must be likely that the

injury was caused by the conduct complained of and not by the
independent action of some third party not before the court."
Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204

F.3d 149, 154 (4th Cir. 2000).          "The plaintiff, as the party

invoking federal jurisdiction, bears the burden of establishing

these elements."      Spokeo, 578 U.S. at 338 (citation omitted).

"[A]t the pleading stage, the plaintiff must 'clearly . . . allege

facts demonstrating' each element."       Id. (citation omitted).
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     Citing CWA and CAA cases, Plaintiff asserts she must only

satisfy a low bar for traceability.          (Doc. 31, at 5-7 (citing Black

Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng^rs, 781 F.3d

1271 (11th Cir. 2015); Jones Creek Invs., LLC v. Columbia Cnty.,

98 F. Supp. 3d 1279 (S.D. Ga. 2015); New Manchester Resort & Golf,

LLC V. Douglasville Dev., LLC, 734 F. Supp. 2d 1326 (N.D. Ga.

2010)).   However, Defendant is correct in arguing that in these

types of cases, "Congress authorized any person with ^an interest

which is or may be adversely affected' to bring a civil suit to

correct violations of the CWA" and "gave citizens the right to

protect intangible 'interests' in the environment." (See Doc. 33,

at 4-5 (citing 33 U.S.C. § 1365(g); Friends of the Earth, Inc. v.

Laidlaw   Env't Servs.,      Inc., 528   U.S. 167, 182 (2000)).)               The

Eleventh Circuit recognized as much in Black Warrior Riverkeeper,

where it found allegations of aesthetic harm, recreational harm,

and threat to Plaintiffs' members "health by drinking water . . .

[fell] within the zone of interests contemplated by the CWA and

[the National Environmental Policy Act ("NEPA")]."                Black Warrior

Riverkeeper, 781 F.3d at 1280.

     As   Defendant    argues, "Plaintiff       is     not    suing   to    protect

intangible interests in the environment or to enforce federal law.

She is suing to recover for an alleged personal injury."                      (Doc.

33, at 5.)      Therefore, Defendant argues the facts in this case

differentiate    it   from   those   which   warrant    the   low-bar      standard
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called for in CWA and CAA cases.           (Id.)      Further, Defendant argues

Plaintiff fails to allege Decedent's injuries are fairly traceable

to its conduct because the link between its conduct and Plaintiff's

injury is too attenuated.               (Doc. 30, at 4.)              As it argues,

''Plaintiff simply has not alleged facts supporting an inference

that alleged emissions from KPR's facility caused any exposure

above background levels of EtO."               (Doc. 33, at 7.)

       The Court agrees the traceability standard utilized in CWA

and CAA cases is materially distinct from the standard utilized in

tort cases.      As stated by a sister court deciding a tort case in

this circuit, "the [CWA and CAA] cases [Plaintiff relies] upon for

this proposition are not binding on this Court [in this context]

and    all   concern   the    discharge        by   one    or   two   defendants   of

pollutants into waterways." Coffie v. Fla. Crystals Corp., 460 F.

Supp. 3d 1297, 1305 (S.D. Fla. 2020) (citations omitted). The low

bar of traceability required to establish CWA and CAA standing is

different than the traditional level of traceability required in

tort cases, like this harmful emissions case.                   Compare Adinolfe v.

United Tech. Corp., 768 F.3d 1161, 1164 (11th Cir. 2014) (finding

a plaintiff's injuries fairly traceable in the tort context where

"the plaintiffs claimed [defendant's] chemicals migrated to [the

subject property where they resided] via the southward-flowing

aquifer      underlying   both       [defendant's]        plant    and   [plaintiffs'

property],"       among      other     allegations)         with      Black   Warrior


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Riverkeeper, 781 F.3d at 1280 {analyzing whether that plaintiff's

claims fell ^^within the zone of interests contemplated by the CWA

and NEPA"); Jones Creek Invs., 98 F. Supp. 3d at 1298 (enumerating

the    traceability    requirements     ""in   a   [CWA]   case");    and   New

Manchester Resort & Golf, 734 F. Supp. 2d at 1333-34 (same).                For

tort cases in which Congress has not specially provided a lower

standard of traceability, the Court is not empowered to utilize

the lower bar it has authorized for cases in a different context.

As such, for this toxic tort case the Court must utilize the

traditional standard for traceability.

       To    satisfy    the    traditional     traceability     requirement.

Plaintiff must allege injuries that are "fairly traceable" to

Defendant's actions.          Spokeo, 578 U.S. at 338.        "[I]t must be

likely that the injury was caused by the conduct complained of and

not by the independent action of some third party not before the

Court."     Gaston Copper Recycling Corp., 204 F.3d at 154 (citation

omitted). Although proving causation is not required at the motion

to dismiss stage, "there must be a causal connection between the

injury and the conduct complained of - the injury has to be fairly

traceable to the challenged action of the defendant, and not the

result of the independent action of some third party."               Lujan, 504

U.S. at 560-61 (alterations adopted and citation and quotations

omitted); see also Debernardis v. IQ Formulations, LLC, 942 F.3d

1076, 1088 (11th Cir. 2019) ("To establish standing, a plaintiff



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must allege that her injury is fairly traceable to the challenged

conduct of the defendant.        Under this requirement, the line of

causation between the alleged conduct and the injury must not be

too attenuated." (citations and quotations omitted)).

     In this case. Plaintiff alleges the census tract in which

Defendant's facility is located has a heightened potential cancer

risk of 64 parts per one million due to exposure of air toxins.

(Am. Compl., at 11.) Further, she alleges Decedent lived about 5-

6 miles from Defendant's facility most of her life.           (Id. at 16.)

Between 2003 and 2008, she also attended school 5 miles from

Defendant's     facility.     (Id.)         Plaintiff    alleges   Decedent

^^consistently inhaled air in and around her home, school, and in
the Augusta area" and 'Ma]s a result, [Decedent] was diagnosed
with acute myelogenous leukemia in 2014."          (I<^» )

     Even     accepting all of Plaintiff's allegations as true.
Decedent's injuries cannot be plausibly traced to this Defendant s
emissions. Plaintiff describes the Augusta-area census tract with
elevated EtO emissions that raise the              rate of cancer like
Decedent's; she also pleads she lived about 5-6 miles from the
facility.     (Id. at 11, 16.)    Crucially, however. Plaintiff fails
to allege Decedent's home and school were within the census tract
with the heightened risk of cancer - instead she vaguely alleges
Decedent ''inhaled air in and around her home, school, and in the

Augusta area."       (Id. at 16.)          Nowhere does Plaintiff allege

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Decedent resided or went to school within the elevated-risk census

tract or in any other particular concrete area in which Defendant

caused elevated risks of cancer.         To allow Plaintiff to proceed

without any allegation of how far Defendant's pollution stretched

{even if only to Decedent's front door) would be to allow any

Augusta-area resident - indeed, any resident of an indefinite area

surrounding   Defendant's    plant to sue       Defendant for     its     EtO

emissions.    Those injuries could not be fairly traced to this

Defendant's emissions.       Without more information        —   even just

slightly more than a threadbare allegation that Defendant's EtO
emissions reached Decedent's residence or school — Plaintiff has

failed to provide facts that would allow the plausible inference
that Decedent's injuries are fairly traceable to Defendant's
activities.    Article III requires more than a claim of exposure

merely because Decedent's residence was within a 5 or 6-mile radius
of pollution; Plaintiff must at least plead facts allowing the
Court to plausibly find Decedent's injury was fairly traceable to
Defendant's    alleged    pollution.       In   all,   the   Court      finds
traceability is too speculative and attenuated to establish
standing in this case because there is no evidence Plaintiff was
even ever within the area of heightened risk. Therefore, Plaintiff

lacks standing, and her Amended Complaint shall be DISMISSED.




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B. Failure to State a Claim


       Even   if   Plaintiff   had   established     standing.    Defendant

additionally moved to dismiss the Amended Complaint under Rule

12(b)(6) for failure to state a claim.      (Doc. 30, at 8.)      The Court

will    address    Defendant's   statute    of     limitations    argument.

Defendant argues Plaintiff's claims are barred by the two-year

statute of limitations and the discovery rule does not apply to

claims belonging to a decedent's estate. (Id. at 9-10.) Plaintiff

believes the discovery rule applies and therefore her claims are

not barred.    (Doc. 31, at 21.)

       This is a diversity action, so the Court must apply Georgia's

statute of limitations to determine whether Plaintiff's Amended

Complaint is timely. See Cambridge Mut. Fire Ins. Co. v^—City—o^
Claxton, 720 F.2d 1230, 1232 (11th Cir. 1983) r[S]tate statutes

of limitations are substantive laws and must be followed by federal
courts in diversity actions." (citation omitted)).               Georgia law
provides ^'actions for injuries to the person shall be brought
within two years after the right of action accrues . . .

O.C.G.A. § 9-3-33; see also Adair v. Baker Bros., Inc., 366 S.E.2d

164, 165 (Ga. Ct. App. 1988) C^[A]n action to recover for personal
injuries is, in essence, a personal injury action, and, regardless
of whether it is based upon an alleged breach of an implied
vy^arranty or is based upon an alleged tort, the limitations statute
governing actions for personal injuries is controlling. ); Daniel

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V. Am. Optical Corp., 304 S.E.2d 383 (Ga. 1983) (holding that

O.C.G.A. § 9-3-33 applies to personal injury actions brought under

theories of strict liability and negligence).         Here, Plaintiff's

claims are based on an injury to Decedent and therefore O.C.G.A.

§ 9-3-33 applies.

     Plaintiff brings claims on behalf of Decedent for her leukemia

caused by alleged EtO emissions. (Am. Compl., at 1, 18-19.) Under

the discovery rule,     [a] cause of action will not accrue .

until the plaintiff discovers or in the exercise of reasonable

diligence should have discovered not only that [s]he has been

injured but also that [the] injury may have been caused by the
defendant's conduct."    King v. Seitzingers, Inc., 287 S.E.2d 252,

254 (Ga. Ct. App. 1981).       However, this rule only applies for
continuing torts. M.H.D. v. Westminster Schs., 172 F.3d 797, 804-
05 (11th Cir. 1999) ('MI]n Georgia the discovery rule only applies
to cases involving      ^continuing torts,' where the plaintiff's

injury developed from prolonged exposure to the defendant s
tortious conduct." (citation omitted)). Because Plaintiff alleges

Decedent was exposed to EtO emissions for years which ultimately

caused her leukemia, the Court will assume Decedent suffered from

a continuing tort.

     Decedent was diagnosed with acute myelogenous leukemia in

2014 and passed away in 2015. (Am. Compl., at 16.) Based on this,
she discovered her injury in 2014.         However, Plaintiff alleges


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neither she nor Decedent noticed it was wrongfully caused or caused

by Defendant's EtO emissions until December 2019.           (Id.)   Plaintiff

does not allege how she "discovered" this link, but only gives the

date.    Defendant argues "a bare allegations that a plaintiff ^could

not have reasonably learned' of the facts on which her claim was

based, 'without more, is insufficient to satisfy the pleading

requirements as to tolling.'"      (Doc. 33, at 9 (quoting Patel v.

Diplomat 1419VA Hotels, LLC, 605 F. App'x 965, 966 (11th Cir.

2015)).    In opposition. Plaintiff cites to Dollar v. Monsanto Co.,

No. 2:20-cv-78, 2021 WL 2300788, at *4 (S.D. Ga. June 4, 2021) for

holding "a claim for wrongful death damages accrues by virtue of

the decedent's passing, whereas a claim for damages in a survival

action accrues in the same way it would have had the decedent not

passed."    (See Doc. 31, at 21-22.)

        Pursuant to the discovery rule in Georgia, the statute of

limitations will not run until Decedent knew, or through the

exercise of reasonable diligence should have discovered, not only

her injury but also the causal connection between her injury and
the negligent conduct.     See King, 287 S.E.2d at 255.             Therefore,
tolling would be appropriate if Plaintiff alleged she could not

have known prior to 2019 that Decedent's injuries were caused by

Defendant.     However, the Amended Complaint simply states neither

Plaintiff    nor   Decedent "had   notice     that    [Decedent's]     medical

condition    was   wrongfully   caused   or    that    it    was    caused   by


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Defendant's     emissions."       (Am.    Compl.,      at   16.)     There     are    no

allegations that reasonable diligence could not have uncovered the

cause    of   Decedent's    leukemia.      In    Plaintiff's       response    to    the

motion to dismiss, she argues she ^'did not begin to suspect that

Defendant was emitting EtO, or that Defendant's EtO emissions were

the cause of Decedent's medical condition, until after Decedent's

death."       (Doc. 31, at 23.)          Once again, however, there is no

explanation or allegation that neither she nor Decedent could not

have discovered the alleged linkage to Defendant with reasonable

diligence.          Based   on this, the Court finds the                statute of

limitations on Plaintiff's tort claims has run and this is an

additional ground for dismissal.



                                 IV. CONCLUSION


        For   the    foregoing   reasons,       IT    IS    HEREBY    ORDERED       that

Defendant's motion to dismiss (Doc. 30) is GRANTED and this matter

is DISMISSED.         The Clerk is DIRECTED to TERMINATE all pending

motions and deadlines, if any, and CLOSE this case.

        ORDER ENTERED at Augusta, Georgia, this                               of

2022.



                                        j. rand; L     HALL, CHIEF JUDGE
                                        UNITED       TATES DISTRICT COURT
                                                 [N DISTRICT OF GEORGIA




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